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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §   CRIMINAL CASE NO 9:12-CR-15(3)
                                                 §
FRANCISCO JAVIER BUSTOS                          §

                 ORDER ADOPTING REPORT AND RECOMMENDATION
                  ON DEFENDANT’S COMPETENCY TO STAND TRIAL

         The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for consideration. Judge Giblin conducted a hearing to determine defendant’s competency.

After considering the examiner’s findings, Judge Giblin filed his report and recommendation on

defendant’s competency to stand trial. Judge Giblin concluded that the defendant is competent

pursuant to 18 U.S.C. § 4241.

         The parties have not objected to the magistrate judge’s findings and recommendation. The

Court ORDERS that the report and recommendation on defendant’s competency to stand trial [doc.

#112] is ADOPTED. The Court further ORDERS and FINDS that, in accordance with the

magistrate judge’s recommendation, the examiner’s report, and the parties’ agreement, defendant,

Francisco Javier Bustos, is competent to proceed pursuant to Title 18, United States Code, Section

4241. The Court finally ORDERS that Speedy Trial time is EXCLUDED from November 1, 2012,

the date of Judge Giblin’s order directing a mental examination [doc. #93], through the date of this

order.

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         So ORDERED and SIGNED on March _____, 2013.




                                             ________________________________________
                                             Ron Clark
                                             United States District Judge
